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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

                                          COURT FILE NO.:
  Keenan Orcutt,
        Plaintiff

  v.

  Alpha Recovery Corporation,
       Defendant.
  ________________________________________________________________________

                           COMPLAINT AND JURY DEMAND
       ________________________________________________________________________

                                        NATURE OF ACTION

          1.      This is an action brought pursuant to the Fair Debt Collection Practices Act

  (“FDCPA”), 15 U.S.C. § 1692 et seq.

                                    JURISDICTION AND VENUE

          2.      This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d) and 28 U.S.C. §

  1331.

          3.      Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where the acts

  and transactions giving rise to Plaintiff’s action occurred in this district, where Plaintiff resides in

  this district, and where Defendant transacts business in this district.

                                                PARTIES

          4.      Plaintiff, Keenan Orcutt (“Plaintiff”), is a natural person who at all relevant times

  resided in the State of Colorado, County of El Paso, and City of Ramah.

          5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).




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         6.      Defendant, Alpha Recovery Corporation (“Defendant”), is an entity who at all

  relevant times was engaged, by use of the mails and telephone, in the business of attempting to

  collect a “debt” from Plaintiff, as defined by 15 U.S.C. § 1692a(5).

         7.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                    FACTUAL ALLEGATIONS

         8.      Plaintiff is a natural person allegedly obligated to pay a debt asserted to be owed

  or due a creditor other than Defendant.

         9.      Plaintiff’s alleged obligation arises from a transaction in which the money,

  property, insurance, or services that are the subject of the transaction were incurred primarily for

  personal, family, or household purposes – namely, a personal residential lease agreement (the

  “Debt”).

         10.     Defendant uses instrumentalities of interstate commerce or the mails in a business

  the principal purpose of which is the collection of any debts, and/or regularly collects or attempts

  to collect, directly or indirectly, debts owed or due, or asserted to be owed or due another.

         11.     In connection with the collection of the Debt, Defendant sent Plaintiff a letter

  dated April 7, 2016.

         12.     A true and correct copy of Defendant’s April 7, 2016 letter is attached to this

  complaint as Exhibit A.

         13.     Defendant’s April 7, 2016 letter was its initial communication with Plaintiff with

  respect to the Debt.

         14.     Defendant’s April 7, 2016 letter contained the statements required in an initial

  communication by 15 U.S.C. § 1692g(a).




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          15.    On or around April 22, 2016, Plaintiff sent Defendant a dispute letter requesting

  that Defendant verify the balance of the Debt.

          16.    A true and correct copy of Plaintiff’s April 22, 2016 dispute letter is attached to

  this complaint as Exhibit B.

          17.    In response to Plaintiff’s April 22, 2016 dispute letter, Defendant sent Plaintiff a

  letter dated April 28, 2016 that stated: “Enclosed please find the documents of which you

  recently requested. Please contact our office to further discuss your debt.”

          18.    A true and correct copy of Defendant’s April 28, 2016 letter with enclosed

  documents are attached to this complaint as Exhibit C.

          19.    The enclosed document that Defendant provided was a copy of Plaintiff’s lease

  agreement.

          20.    Defendant’s April 28, 2016 letter failed to verify the balance of the Debt.

          21.    In addition, in or around mid-April of 2016, Defendant placed at least one call to

  Plaintiff’s grandmother’s phone number revealing that Plaintiff owed a debt.

          22.    Plaintiff’s grandmother in turn contacted Plaintiff’s father to express that she was

  upset that Defendant called her with regards to Plaintiff’s Debt.

          23.    Defendant did not have Plaintiff’s consent, or the express permission of a court of

  competent jurisdiction to communicate with any person in connection with the collection of the

  Debt.

          24.    Therefore, Defendant’s communications with Plaintiff’s grandmother were

  unauthorized communications with a third party in connection with the collection of the Debt.

                                           COUNT I
                                 VIOLATION OF 15 U.S.C. § 1692b(2)

          25.    Plaintiff repeats and re-alleges each factual allegation above.

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         26.      Defendant violated 15 U.S.C. § 1692b(2) by disclosing to a third party the

  existence of the Debt allegedly owed by Plaintiff.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated 15 U.S.C. § 1692b(2);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in

                  the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action

                  pursuant to 15 U.S.C. § 1692k(a)(3);

               e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                  law; and

               f) Awarding such other and further relief as the Court may deem proper.

                                        COUNT II
                               VIOLATION OF 15 U.S.C. § 1692c(b)

         27.      Plaintiff repeats and re-alleges each factual allegation above.

         28.      Defendant violated 15 U.S.C. § 1692c(b) by communicating with a third party

  other than in the manner prescribed by 15 U.S.C. § 1692b, without having received the prior

  consent of Plaintiff or the express permission of a court of competent jurisdiction, and without it

  being necessary to effect a post-judgment remedy.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated 15 U.S.C. § 1692c(b);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in

                  the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

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               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action

                  pursuant to 15 U.S.C. § 1692k(a)(3);

               e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                  law; and

               f) Awarding such other and further relief as the Court may deem proper.

                                        COUNT III
                               VIOLATION OF 15 U.S.C. § 1692g(b)

         29.      Plaintiff repeats and re-alleges each factual allegation above.

         30.      Defendant violated 15 U.S.C. § 1692g(b) by continuing to contact Plaintiff

  without having first provided verification of the debt, after having received a written

  communication from Plaintiff disputing the debt.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated 15 U.S.C. § 1692g(b);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in

                  the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action

                  pursuant to 15 U.S.C. § 1692k(a)(3);

               e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                  law; and

               f) Awarding such other and further relief as the Court may deem just and proper.

  Dated: September 2, 2016
                                         Respectfully submitted,

                                         s/ Russell S. Thompson, IV
                                         Russell S. Thompson, IV (029098)

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